Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 1 of 35




                    EXHIBIT A
                    Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 2 of 35

                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                                    Telephone: 1-855-212-1234
30 Spring Street                                                                             TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                                 http://www.courts.state.nh.us


                                      SUMMONS IN A CIVIL ACTION                                              R




Case Name:             New Angle LLC v IQAir North America, Inc.
Case Number:           226-2022-CV-00084

Date Complaint Filed: March 07, 2022
A Complaint has been filed against IQAir North America, Inc. in this Court. A copy of the Complaint is
attached.

The Court ORDERS that ON OR BEFORE:
April 25, 2022        New Angle LLC shall have this Summons and the attached Complaint
                      served upon IQAir North America, Inc. by in hand or by leaving a copy at
                      his/her abode, or by such other service as is allowed by law.
May 16, 2022                    New Angle LLC shall electronically file the return(s) of service with this
                                Court. Failure to do so may result in this action being dismissed without
                                further notice.
30 days after Defendant         IQAir North America, Inc. must electronically file an Appearance and
is served                       Answer or other responsive pleading form with this Court. A copy of the
                                Appearance and Answer or other responsive pleading must be sent
                                electronically to the party/parties listed below.

Notice to IQAir North America, Inc.: If you do not comply with these requirements you will be
considered in default and the Court may issue orders that affect you without your input.
Send copies to:
 Cooley Ann Arroyo, ESQ                      Cleveland Waters and Bass PA Two Capital Plaza 5th Floor PO
                                             Box 1137 Concord NH 03302-1137
  IQAir North America, Inc.                  14351 Firestone Boulevard La Mirada CA 90638
                                                                   BY ORDER OF THE COURT

March 11, 2022                                                     Amy M. Feliciano
                                                                   Clerk of Court
(1082)




NHJB-2678-Se (07/01/2018)
                                    This is a Service Document For Case: 226-2022-CV-00084
                                          Hillsborough Superior Court Southern District
                                                        3/11/2022 9:35 AM
                    Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 3 of 35


                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                       Telephone: 1-855-212-1234
30 Spring Street                                                                TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                    http://www.courts.state.nh.us


                                                NEW ANGLE LLG
                                    INSTRUCTIONS FOR SERVICE
                                   BY THE SHERIFF'S DEPARTMENT


Case Name:             New Angle LLC v IQAir North America, Inc.
Case Number:           226-2022-CV-00084
Instructions for: New Angle LLC
The attached Summons must be sent to the Sheriff's Department for service. Service must be completed
on or before April 25, 2022.
Further action is required by you
You must:
  • Print two copies of the Summons per defendant
  • Print two copies of the Notice to Defendant per defendant
  • Print two copies of the Complaint filed with the Court per defendant
  • Make two packets for service. Each packet should contain:
             0 One Summons
                Once Notice for Defendant
                One Complaint filed with the Court
  • Mail or hand deliver the packets to the Sheriff's Department in the county where each
      defendant resides.
Sheriff Departments in New Hampshire:
Belknap County Sheriff's Department:          Hillsborough County Sheriff's Department:
Carroll County Sheriff's Department:          Merrimack County Sheriff's Department:
Cheshire County Sheriff's Department:         Rockingham County Sheriff's Department:
Coos County Sheriff's Department:             Strafford County Sheriff's Department:
Grafton County Sheriff's Department:          Sullivan County Sheriff's Department:

*If one or more of the parties resides out of state, please click here for the requirements*
Service must be made upon the defendant before April 25, 2022.

If the Sheriff is unable to complete service by April 25, 2022 you will receive a "Notice of Incomplete
Service" from the Sheriff's Department. You may request that new paperwork be issued by electronically
filing a Request for Documents. There is a fee for this request.

The Sheriff will mail the `Return of Service' to you. You MUST electronically file the `Return of Service'
with the court by May 16, 2022.

If service is not made as directed, no further action will occur and the case may be dismissed by
the court.

NHJB-2678-Se (07/01/2018)
                    Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 4 of 35

                   Important Service Information for Sheriff
                                        Do not file this with the court
                            Provide this information to the Sheriff's Department.
                             See Instructions for Service for more information.
                                                 PLEASE PRINT CLEARLY
Date:                                                         Case #:
Who are you requesting to be served?
Please provide whatever information you know
Name:
Address for service (no P.O. boxes):
                                                                    APT #:


Home phone #:                                          Cell phone #:
Sex:   ❑    Male     ❑      Female                     Race:
Last 4 digits of SS#: xxx-xx-                                                       D.O.B.
Work name & address:


Special instructions for service (i.e. directions, best time to serve, cautions, etc.):




Vehicle description/license plate:


Your Information:
Name (please print):
Residential address:                                                Mailing address:




Phone number to contact you during business hours:
                                               Alternate #:


                                                                    Signature

           ♦IN-HAND SERVICE WILL INCUR EXTRA COSTS DUE TO ADDITIONAL TRAVEL♦

SHERIFF OFFICE USE ONLY: (This will vary by Sheriff's Office)
Fees Paid: $                         Cash #:                       Check#:
Id#:             Waiver:               Money Order#:                               Credit Card:
Sheriff File #                                                               Authorization #:


NHJB-2678-Se (07/01/2018)
                   Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 5 of 35

Instructions for filing the Return of Service:
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court's website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.

    1. Select "I am filing into an existing case". Enter 226-2022-CV-00084 and click Next.
    2. When you find the case, click on the link follow the instructions on the screen. On the "What
       would you like to file?" screen, select "File Other Document" and choose "Return of Service".
    3. Scan the Return of Service packet and follow the instructions in the electronic filing program to
       upload the Return of Service to complete your filing.
    4. If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
       Request for Documents. On the "What would you like to file?" screen, select "File Other
       Document" and choose "Request for Reissued Summons" from the menu and upload the
       Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

March 11, 2022                                          Amy M. Feliciano
Date                                                    Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
httes://odyoa.nhecourtusioortal and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case. After your
information is validated by the court, you will be able to view case information and documents filed in
your case.




NHJB-2678-Se (07/01/2018)
                   Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 6 of 35


                               THE STATE OF NEW HAMPSHIRE
                                                 JUDICIAL BRANCH
                                                     SUPERIOR COURT
Hillsborough Superior Court Southern District                                                         Telephone: 1-855-212-1234
30 Spring Street                                                                                  TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                                      http://www.courts.state.nh.us

                                          P.If'.TIf.i
                                          1141 %.,0 I I   G
                                                              -rI flV     CCC
                                                                        LJI   UI
                                                                                     I-% A DLIT
                                                                                   IYLJ/11Y   I



Case Name:                  New Angle LLC v IQAir North America, Inc.
Case Number:                226-2022-CV-00084
You have been served with a Complaint which serves as notice that this legal action has been filed
against you in the Hillsborough Superior Court Southern District. Review the Complaint to see
the basis for the Plaintiff's claim.
Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
You may register and respond on any private or public computer. For your convenience, there is also
a computer available in the courthouse lobby.
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court's website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.
        1. Complete the registration/log in process. Click Register and follow the prompts.
        2. After you register, click Start Now. Select Hillsborough Superior Court Southern
           District as the location.
        3. Select "I am filing into an existing case". Enter 226-2022-CV-00084 and click Next.
        4. When you find the case, click on the link and follow the instructions on the screen. On the
           "What would you like to file?" screen, select "File a Response to Civil Complaint". Follow
           the instructions to complete your filing.
        5. Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address you provide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Superior Court, which are available on the court's website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




NHJB-2678-Se (07/01/2018)
                                                                                                                             Filed
                                                                                                      File Date: 3/7/2022 2:38 PM
            Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22                       Page   7 of 35
                                                                                     Hillsborough Superior Court Southern District
                                                                                                                E-Filed Document




                                  STATE OF NEW HAMPSHIRE
HILLSBOROUGH, SS.                                                                     SUPERIOR COURT
SOUTHERN DISTRICT

                                         NEW ANGLE LLC

                                                                           nocket       226-2022-CV-00084

                                 IQAIR NORTH AMERICA, INC.


                      COMPLAINT AND DEMAND FOR JURY TRIAL


       Plaintiff, New Angle LLC, by and through its attorneys, Cleveland, Waters and Bass,

P.A., complains against defendant, IQAir North America, Inc., and demands a trial by jury.

       In support of this complaint, plaintiff alleges and claims as follows:

                                                 Parties

       1.       Plaintiff, New Angle LLC ("New Angle"), is a New Hampshire limited liability

company with a principal office located at 17F Clinton Drive in Hollis, New Hampshire.

       2.       Defendant, IQAir North America, Inc. ("IQAir"), is a California corporation with

a principal place of business at 14351 Firestone Boulevard, La Mirada, California 90638.

                                        Ill IbtaliCILIMI AIM   V ClitAC




       3.       Pursuant to RSA 491:7, this court has subject matter jurisdiction over this matter.

       4.       The court has personal jurisdiction over IQAir pursuant to RSA 510:4 because,

among other things, IQAir engages in regular business in New Hampshire, it sells its products to

New Hampshire residents, its anti-competitive conduct has harmed all internee consumers,

including those in New Hampshire, and its wrongful acts have been directed specifically at and

have harmed — and continue to harm — plaintiff whose principal place of business is in New

Hampshire.




                           This is a Service Document For Case: 226-2022-CV-00084
                                 Hillsborough Superior Court Southern District
                                               3/11/2022 9:35 AM
             Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 8 of 35




        5.       Pursuant to RSA 507:9, the Hillsborough South Superior Court is proper venue

for this action because New Angle is located in southern Hillsborough County.

                                            Factual Background
        6.       New Angle is a New Hampshire limited liability company that develops and sells

eco-friendly air filters that are compatible with name brand air purifiers, humidifiers, and

deodorizers. New Angle's products are commonly referred to as "after-market" or replacement

products, as they are developed and intended to be utilized with products produced and sold by

other manufacturers.

        7.       New Angle is the owner of common law trademark rights in and to the mark

"NATURAL BREEZE." This ownership is manifest by the long history of its use by New Angle

in connection with, among other things, air filters, as well as by U.S. Trademark Application

Serial No. 90623763 for "NATURAL BREEZE."

        8.       IQAir is the North American affiliate of ICLEEN Entwicklungs-und

Vertriebsanstalt ftir Umweltprodukte ("ICLEEN"), a German business entity. IQAir

manufactures and distributes air purification and filtration products. It sells products throughout

the United States and the rest of the world, including to New Hampshire customers.

        9.       ICLEEN owns the following registered trademarks that are used in connection

with air purifying units and air filters:

              a. IQAIR (Application Serial Nos. 90453577, 88265565, 87790791 and Registration

                 Nos. 5692433 and 3343313)

              b. HYPERHEPA (Registration No. 2434741)

              c. HEALTHPRO (Registration No. 2481422)

              d. V5-CELL (Registration No. 6198881)




                                                    2
           Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 9 of 35




         10.      IQAir is the owner of the unregistered mark PREMAX, which is used in

connection with air purifying units and air filters.

         11.       IQAIR, HYPERHEPA, HEALTHPRO, V5-CELL, and PREMAX are referred to

collectively ns the "Mnrks"

         12.      IQAir is licensed to use and enforce the Marks in the United States.

         13.      IQAir does not have patent protection on the Marks.

         14.      Among New Angle's product offerings are after-market products that are

designed to be "compatible with" or "replacements for" IQAir equipment. Each New Angle

product identifies the IQAir product with which it is compatible and utilizes one or more of the

Marks for that purpose. For example, one product is titled "Natural-Breeze Filter Replacement

Compatible with IQAIR® PREMAX® Filter for HEALTHPRO® Plus Air Purifiers." The use of

the Marks on after-market products is necessary to alert the consumer to which of those products

are compatible with the IQAir product the consumer owns.

         15.      New Angle's after-market products that are designed to be compatible with IQAir

equipment are sold with the following disclaimer: "Disclaimer: IQAir, PREMAX,
LTC' A T I'T_TDDr1 T_TAJTVCD LICT) A
 1.12...rx..L. I .1. ir 11.A.,/, 111 E
                                         17
                                          v
                                              c   T   " r"                                 ".0 TriT "CCM                        ..""A
                                                      a" re 1951.1 LG1 GU LI aLLGLIICLLYLJ V1 1‘......1-4-1.12.1, 1 allU. cal G LISGLA LV




show compatibility only. Natural-Breeze is not endorsed, associated, [or] affiliated with

ICLEEN. Please check your manufacturer's warranty with regard to the use of non-OEM' parts."

         16.      New Angle markets and sells products on its website, www.mynaturalbreeze.com,

and also on Amazon.com ("Amazon") and eBay.com ("eBay").

         17.      Selling products on Amazon and eBay permits a seller to reach a global base of

online consumers. New Angle pays a fee to Amazon and eBay in exchange for the ability to sell



 "OEM" means "original equipment manufacturer."

                                                             3
         Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 10 of 35




products on those sites. Amazon has over 300 million active users, and eBay has approximately

159 million active buyers. Amazon is often the first site searched by consumers seeking a

specific product, so its customer base is particularly valuable to sellers like New Angle.

       18.     IQAir a ISO sells prodi ids nn Atrn7on.

       19.     IQAir has maliciously, wantonly, improperly, and unlawfully interfered with New

Angle's right to use the Marks in describing its after-market products, which in turn has

prevented New Angle from advertising and marketing its products to millions of prospective

consumers on Amazon and eBay.

       20.     IQAir regularly searches the internet to identify sellers like New Angle utilizing

the Marks in connection with the sale of after-market products. It utilizes email addresses like

"brandprotection®mm-igair.com" to report alleged misuse of the Marks, and its attorney

searches the internet for products that are marketed as compatible with IQAir's products and

regularly and habitually takes steps to prevent IQAir's competitors from marketing compatible

components.

       21.     IQAir challenged New Angle's use of the Marks in a persistent campaign to

impede New Angle from utilizing the Marks in any fashion to ad-vertise its after-market products,

thus eliminating the competition posed by New Angle products.

       22.     IQAir has attacked New Angle listings with complaints to the online retailer only

seven to ten days after they were live on Amazon or eBay.

       23.     IQAir wantonly and maliciously submitted baseless complaints to Amazon and

eBay accusing New Angle of improperly utilizing the Marks. In accordance with their seller

policies, and as a result of 1()Air's complaints, Amazon and eBay then removed the product




                                                 4
            Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 11 of 35




listings mentioned in each of IQAir's complaints and also imposed additional penalties in New

Angle's seller accounts, including temporary periods of account suspension.

          24.        Amazon and eBay removed these products even when they complied with the

online retnilers' policiPs for naming after-market products Arn 7on and                                elqny would   not have

removed these products but for IQAir's wrongful complaints to the online retailers. Amazon and

eBay do not adjudicate the merits of a claim of infringement; instead they take the assertion of

infringement as true and suspend marketing of the allegedly infringing product. The suspended

seller must take legal action to restore its right to sell on these platforms, making meritless

claims of infringement an inexpensive and effective way to stifle competition.

          25.        Despite New Angle's good faith efforts to resolve its dispute with IQAir, IQAir

persisted in submitting baseless complaints to Amazon and eBay to the detriment of New Angle

and its business, and effectively forced New Angle from nearly all of the internet marketplace for

products compatible with IQAir equipment.

          26.        In addition to its complaints to Amazon and eBay, IQAir persists in submitting

baseless and threatening complaints to New Angle via its website challenging New Angle's use
   A."              T... .4                          e. •   4                           7n71   Trt A
U1 111C 1V1i111S.S. 111 11,S 111L/St JUL:Gilt cumplann          till   1N1JVC1111.1C1                  11G111411UVU YL   11S1



identifying all retail and internet locations where IQAIR and HEALTHPRO branded products

have been sold and to whom these products have been sold, including all internet online

marketplace websites." This is an attempt to identify other online marketplaces where IQAir can

seek to prevent New Angle from competing with IQAir in the sale of compatible components.

          27.        IQAir has threatened to initiate litigation against New Angle over its use of the

Marks.




                                                                          5
         Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 12 of 35




                                                               eBay Complaints

       28.        eBay permits sellers to use the phrases "compatible with," "fits," or "for" before a

brand name in a product listing "if the item described is specifically designed to be compatible

with the products of thnt brAnd"

       29.        New Angle complied with eBay's policy for naming products when it employed

the Marks in product listings because New Angle's products are specifically designed to be

compatible with IQAir equipment.

       30.        Despite this policy, IQAir submitted complaints to eBay concerning New Angle's

use of the Marks, when in fact those product listings complied with eBay's rules for employing

brand names in product listings. As a result of those complaints submitted by IQAir, eBay took

action to remove certain New Angle product listings and impose restrictions on New Angle's

seller account.

       31.        IQAir maliciously and wantonly submitted baseless and wrongful complaints to

eBay regarding New Angle product listings on April 7, 2020; December 5, 2020; June 17, 2021;

July 21, 2021; and August 20, 2021.
                    A
                  / -'1.S   result.
                                      ...C1n
                                          1
                                                A
                                               rt."11.   s "vviungiut
                                                             r*.'sv%" ' l   " " ." ."...1".
                                                                            ',Vint/1[1111LS 4   LO
                                                                                                4
                                                                                                     e0Dr..,   Vie....
                                                                                                               INGW
                                                                                                                         A
                                                                                                                             vas veer unavie
                                                                                                                                        ra.1




to list many of its products that are compatible with IQAir equipment for sale on eBay, resulting

in lost profits and economic opportunities. Of the 92 weeks that have elapsed since the products

compatible with IQAir equipment were launched, they were only listed on eBay for

approximately 13 weeks before IQAir's complaints resulted in the items no longer being listed

for sale on that platform.

       33.        The IQAir complaints submitted to eBay on or around April 7, 2020 and

December 5, 2020 incorrectly complained that certain New Angle product listings were "using




                                                                             6
        Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 13 of 35




[IQAir's] brand name inappropriately." The products at issue were titled "3-Filter Replacement

Bundle for IQAir HealthPro Plus Air Purifier NB-KIT" and "Natural-Breeze 3-Filter Bundle

Compatible with IQAir HealthPro Series NB-KIT."

        4.     New Angle's nrndiirt names complied with Allny's policy for iitili7ing brand

names in product listings for compatible products but IQAir nonetheless submitted complaints to

eBay that were harmful to New Angle's business and economic opportunities.

       35.     eBay's notices to New Angle concerning the April 7, 2020 and December 5, 2020

complaints indicated that the contested product listings were removed by eBay following its

receipt of IQAir's complaints. eBay received the complaints from "IQAir North America/Clinix

Gmbh," and directed New Angle to contact "takedownjoir@pointerbp.n1" to address the

substance of the complaints.

       36.     As a result of the April 7, 2020 complaint, eBay imposed a three-day restriction

on New Angle's account that hid all of its product listings from eBay search results. The notice

from eBay indicated that this restriction period would terminate automatically three days after

the date of the April 7, 2020 notice. Accordingly, New Angle was unable to market or sell any

products to eBay consumers during the three-day suspension period, including products that are

not compatible with IQAir equipment. This resulted in lost sales and economic opportunities.

       37.     IQAir submitted two more complaints to eBay on or around June 17, 2021, and

July 21, 2021 complaining that certain New Angle listings were "offering a counterfeit item" for

sale, and "[u]nauthorized copies or counterfeits are illegal and not allowed on eBay." The

products at issue were titled "Natural-Breeze Gas & Odor Filter Replacement for IQAir V-5 Cell

Filter-NB125" and "Natural-Breeze Filter Replacement Compatible with IQAIR® V5-CELLO

Gas & Odor 125."




                                                7
        Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 14 of 35




       38.     IQAir knew that New Angle's products are intended to be compatible with IQAir

equipment and are not "copies" or "counterfeits" but nonetheless submitted complaints to eBay

that were harmful to New Angle's business and economic opportunities.

       19.     New Angle does not sell counterfeits or copies of IQAir products.

       40.     eBay's notices to New Angle concerning the June 17, 2021 and July 21, 2021

complaints indicated that the contested product listings were removed by eBay following its

receipt of IQAir's complaints. The notices further stated that "[u]nauthorized copies or

counterfeits are illegal and not allowed on eBay." eBay received the complaints from "IQAir

North America - Clinix Gmbh" and directed New Angle to contact

"melinda.michalerya@iciair.com" to address the substance of the complaints.

       41.     As a result of the July 21, 2021 complaint, eBay imposed a three-day restriction

on New Angle's account that hid all of its product listings from eBay search results. New Angle

was unable to market or sell any products to eBay consumers during the three-day restriction

period, including products that are not compatible with IQAir equipment. This resulted in lost

sales and economic opportunities.

               iiic   ivuw rtittp.0   Ul.11.41...LS   GLII.UVUU.   ei,ay as a result. ol'IQMr's wrongful and

inaccurate complaints should not have been delisted, and IQAir should not have submitted those

complaints in the first place, as the product listings complied with eBay's policy for naming and

describing after-market products.

       43.     The August 20, 2021 complaint accused New Angle of "using [IQAir's]

copyrighted images without their permission." The listing for "Natural-Breeze True HEPA Filter

Replacement for IQAir PreMax Filter — NB123" was then removed by eBay following IQAir's

complaint on or around August 20, 2021.




                                                              8
         Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 15 of 35




       44.       eBay received the August 20, 2021 complaint from "IQAir North America -

Clinix Gmbh" and directed New Angle to contact "melinda.michalerya@iqair.com" to address

the substance of the complaint.

       45.       Rpnallgfr* UlAir    ciihmittpri           the   Ancnict   111 NYI1   onnvriciht   rnmnlaint   (*Ray



imposed a seven-day restriction on New Angle's account that hid all of its product listings from

eBay search results. The notice from eBay indicated that this restriction period would terminate

automatically seven days after the date of the August 20, 2021 notice. New Angle was unable to

market or sell any products to eBay consumers during the seven-day restriction period, including

products that are not compatible with IQAir equipment. This resulted in lost sales and economic

opportunities.

       46.       New Angle never utilized an image copyrighted by 1QAir on New Angle

merchandising or advertising.

       47.       eBay requires a seller to contact the rights owner if a "mistake has been made"

concerning a complaint about a product. If the rights holder approves the seller's appeal, the

rights holder must contact eBay directly to reinstate the contested product listings.
       AO
       *o.
                  A 14.1..
                 PILL1101.1611 CULUIScl.   4,-,   in   A       A 1'0"
                                                             anu. INeW      A
                                                                                  haVe   discussed TiNew A.igle's use of

the Marks in correspondence over a months-long period, IQAir has not cooperated with New

Angle to resolve the dispute about the use of the Marks on New Angle's after-market products

and persisted in submitting baseless complaints to online retailers.

       49.       eBay employs a series of escalating penalties for intellectual property violations.

In its notice of the August 20, 2021 complaint from IQAir, eBay stated that a subsequent

complaint for violating its "VeRO Unauthorized Listing Policy" would result in a 10-day




                                                                    9
           Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 16 of 35




restriction on New Angle's account. A subsequent complaint after that could result in an

extended suspension or termination of New Angle's seller account on eBay.

       50.     Because New Angle could not rely on IQAir to stop submitting wrongful and

hnrmful compinints to ellny nhnut tips use of Mnrks in New Angle's nfter-Mnrket products New

Angle discontinued its eBay listings for after-market products compatible with IQAir equipment

on August 31, 2021, as New Angle was concerned that continued complaints from IQAir would

result in the termination of New Angle's seller account on eBay. New Angle has lost revenue,

prospective sales, and economic opportunities arising from sales on eBay as a result of IQAir's

actions.

       51.     New Angle conservatively estimates that it has lost more than $36,000.00 in

profits on eBay for the products compatible with IQAir equipment as the result of IQAir's

wrongful actions.

       52.     New Angle only discontinued its eBay listings for after-market products

compatible with IQAir equipment because of IQAir's aggressive, wrongful, and unnecessary

actions in complaining to eBay about New Angle products, which resulted in the imposition of

temporary suspensions of New Angle's seller account on eBay. Further complaints toy IQAir

could have terminated New Angle's ability to utilize eBay for sales of all products, not just those

compatible with IQAir equipment, and thus New Angle did not relist its products that are

compatible with IQAir equipment on eBay to avoid losing its access to this important sales

platform.

                                      Amazon Complaints

       53.     Amazon permits sellers to use phrases clarifying that a product is compatible with

a brand-name product and that the product was not produced by another brand name. Amazon




                                                10
           Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 17 of 35




provides the following examples of "acceptable terms" for describing such items in a product

listing: "Cable for charging AmazonBasics speaker," "Wireless speaker for laptop, compatible

with Amazon Basics," and "Basic cable works with Pinzon."

          54.       New Angle complied with Annn7on's policy for naming products when it utilind

the Marks in product listings because New Angle's products are specifically designed to be

compatible with IQAir equipment.

          55.       Despite this policy permitting the use of brand names in after-market product

listings, IQAir submitted complaints to Amazon concerning New Angle's use of the Marks,

when in fact those product listings complied with Amazon's rules for employing brand names in

product listings.

          56.       IQAir submitted complaints to Amazon regarding New Angle product listings on

June 9, 2020; June 11, 2020; January 5, 2021; and January 28, 2021.

          57.       As a result of IQAir's wrongful complaints to Amazon, New Angle has been

unable to list its products that are compatible with IQAir equipment for sale on Amazon,

resulting in lost profits and economic opportunities. This has persisted for several months
           Tr. A :« 9".
WilOW111.8 1\4/ -1.11 J 1111L1.41 l.umplatin
                                               4., A                     A 0111,1A
                                               IA" .H.1114ZUll 011 J ULM Y, LULU.



          58.       IQAir submitted two complaints to Amazon on or around June 9, 2020, and June

11, 2020 incorrectly complaining that certain New Angle product listings infringed on

trademarked terms "in a way that might lead [the] product to be confused with a different

trademarked product." The products at issue were titled "Natural-Breeze IQAir HealthPro V5-

Cell Gas & Odor Filter Replacement Compatible with HealthPro Plus Air Purifiers" and

"Natural-Breeze IQAIR PreMax Medical Grade Filter Replacement Compatible with HealthPro

Plus Air Purifiers."




                                                              11
                  Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 18 of 35




              59.        Amazon's notices to New Angle concerning the June 9, 2020, and June 11, 2020

complaints indicated that the contested product listings were removed by Amazon following its

receipt of IQAir's complaints. Amazon directed New Angle to contact Dana Jamison at

"rinnnjnITILSOnaignirCOM" to address these compinints.

              60.        New Angle's product names complied with Amazon's policy for utilizing brand

names in product listings for compatible products but IQAir nonetheless submitted complaints to

Amazon that were harmful to New Angle's business and economic opportunities.

              61.        Amazon provides an e-mail address that sellers can contact if products were

"removed in error," but this e-mail address to Amazon was not functioning when New Angle

attempted to contact it.

              62.        The New Angle products removed from Amazon as a result of IQAir's complaints

should not have been delisted, and IQAir should not have submitted those complaints in the first

place, as the product listings complied with Amazon's policy for naming and describing after-

market products.

              63.        Amazon also states that it may restore listings if the rights owner who reported the
              '                               41.."                                XT".., A                                   Ic\ A ..
[1.11G6G1,1         1111[F111G1111GL1[11...LS 111G 1,1[11111. ‘..,1.)11.11J1 lvl   INIGW tilltS1G   4:111U. 1,1.)1111SG1 11.)1 1 1.,e/-111 11[1VG




discussed New Angle's use of the Marks in correspondence over a months-long period, but

IQAir has not cooperated with New Angle to resolve disputes about the use of the Marks on New

Angle's after-market products. IQAir has not retracted any of its claims submitted to Amazon

regarding New Angle after-market products.

              64.        IQAir submitted two more complaints to Amazon on or around January 5, 2021,

and January 28, 2021 that alleged certain New Angle products are unsafe or violate Amazon's

"Restricted Products" policy. In its notices to New Angle, Amazon stated that the "sale of illegal,




                                                                           12
          Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 19 of 35




unsafe, or other restricted products is strictly prohibited" on Amazon. The products at issue were

titled "3-Filter Bundle Replacement Compatible with IQAIR PreMax F8, V5-Cell Gas & Odor

Control, HyperHEPA — Medical-Grade Air Filter" and "Natural-Breeze True HEPA Filter

Replacement compatible with IQAIR PreMax Filter F8 Pre Max 107 10 10 00" ThPsP prochiet

listings were temporarily deactivated by Amazon pending review by the online retailer.

       65.     Amazon restored these product listings after completing its review. However, the

listings were removed again following a subsequent complaint from IQAir.

       66.     The New Angle products removed from Amazon as a result of IQAir's wrongful

and inaccurate complaints on January 5, 2021, and January 28, 2021 should not have been

delisted, and IQAir should not have submitted those complaints in the first place, as the products

are safe and do not constitute illegal or restricted products.

       67.     Amazon provided an email address that sellers can contact if they believe a

product was deactivated in error, but when New Angle attempted to reach that address following

receipt of the January 5, 2021, and January 28, 2021 notices from Amazon, New Angle did not

obtain a response.
        40
        Vow
               0"
               L3uatuse
                          Tr\ A '   1,"      4.
                                    IleaS Hut.
                                                  4".4        lAT"..4 A 4," 1es
                                                         WILIL INGW
                                                                                           IT re.
                                                                                  Lk" IGJULVG
                                                                                                    irn A :.4, "   A/SSAN•11":14
                                                                                                                   4.04.)111plialLILS




about the Marks, New Angle has been unable to resume listing the products subject to IQAir's

various and harmful complaints to Amazon.

       69.     Amazon stated that further complaints about product listings could result in New

Angle losing its ability to sell on Amazon. Because New Angle relies upon Amazon's large

consumer base to market and sell products, and because New Angle could not rely on IQAir to

cease unreasonably and unnecessarily submitting complaints about the use of Marks in New

Angle's after-market products, New Angle discontinued its Amazon listings for after-market




                                                   13
         Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 20 of 35




products compatible with IQAir equipment on August 31, 2021. New Angle has lost revenue,

prospective sales, and economic opportunities arising from sales on Amazon as a result of

IQAir's actions.

       70.     Nem Angle consPrvatively a timntes that it lrs lost more than $168000.0 in

profits on Amazon for the products compatible with IQAir equipment as the result of IQAir's

wrongful actions.

       71.     New Angle only discontinued its Amazon listings for after-market products

compatible with IQAir equipment because of IQAir's aggressive and unnecessary actions in

complaining to Amazon about New Angle products, as further complaints by IQAir could have

terminated New Angle's ability to utilize Amazon for sales of all products, not just those

compatible with IQAir equipment.

                                               COUNT I

       72.     New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

       73.     New Angle had an economic relationship with eBay's customer base.
       ^/A                .s...                                           A...".1 CA
       14.     G.Day 1145 411 GS141,11S11CU clASIAJ111C1 U4SC W1111 MUM   U1411 1J7 1111111011 111C1111M1S.



       75.     IQAir knew that New Angle advertised and sold its products on eBay.

       76.     By maliciously and wantonly submitting baseless complaints alleging intellectual

property violations, IQAir intentionally and improperly interfered with New Angle's economic

relationship with eBay's customer base.

       77.     IQAir complaints resulted in the removal of New Angle product listings from

cBay and the temporary suspension of New Angle's seller account.




                                                    14
         Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 21 of 35




       78.      As a result of IQAir's complaints to eBay, and because additional complaints by

IQAir could result in New Angle's seller account being limited or terminated by eBay, New

Angle no longer sells certain products on that platform, resulting in lost revenue and economic

nnnnrtimitipe


       79.      The above-described conduct of the defendant was wanton, malicious, or

oppressive and therefore the plaintiff is entitled to enhanced compensatory damages.

       80.      New Angle has been damaged by IQAir's interference with New Angle's

economic relationship with eBay's customer base, sustaining damages that include lost revenue

and economic opportunities in an amount within the jurisdiction of this court.

                                            COUNT II

       81.      New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

       82.      New Angle had an economic relationship with Amazon's customer base.

       83.      Amazon has an established customer base with more than 300 million active

members.
       OA       Tr% A        41,..d.   A      ...A    4.*   A                            A«
       O'*.     .tyrki..t*   mci% 1VGW ruTgic auVeraSeu c'lild SOW itS' prOumAs   UII   .ekmazon.

       85.      By maliciously and wantonly submitting baseless complaints alleging intellectual

property violations and safety concerns, IQAir intentionally and improperly interfered with New

Angle's economic relationship with Amazon's customer base.

       86.      IQAir complaints resulted in the removal of New Angle product listings from

Amazon.

       87.      As a result of IQAir's complaints to Amazon, and because additional complaints

by IQAir could result in New Angle's seller account being limited or terminated by Amazon,




                                                     15
          Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 22 of 35




New Angle no longer sells certain products on that platform, resulting in lost revenue and

economic opportunities.

         88.      The above-described conduct of the defendant was wanton, malicious, or

nnnrnacivn
•••1".N'
           and thArPfnrP the plaintiff k          PntitlPfd   to nnhannnel nnmpeneatnry clamaane
                                                                                            •"1:,



         89.      New Angle has been damaged by IQAir's interference with New Angle's

economic relationship with Amazon's customer base, sustaining damages that include lost

revenue and economic opportunities in an amount within the jurisdiction of this court.

                                                     COUNT III

         90.      New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

         91.      IQAir made written representations to eBay about New Angle's product listings

by reporting alleged trademark and intellectual property violations to eBay with knowledge of

the falsity of the representations or with conscious indifference to the truth.

         92.      IQAir knew that the affected listings stated that the New Angle products complied

with eBay's policy for utilizing trademarks by stating that the items were "compatible with" or

"replacements"1.Por I.Q.,-1"ir products, Llitit        ir   nonetheless reported them as 4ixademark -violations

or counterfeit items.

         93.      IQAir maliciously and wantonly made its representations to eBay with knowledge

of their falsity or with conscious indifference to their truth.

         94.      IQAir intended to induce eBay's reliance on those representations and to remove

New Angle product listings as a result of those representations.

         95.      eBay justifiably relied on defendant's misrepresentations to New Angle's

detriment by removing product listings and placing limitations on New Angle's seller account.




                                                              16
          Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 23 of 35




         96.     The above-described conduct of the defendant was wanton, malicious, or

oppressive and therefore the plaintiff is entitled to enhanced compensatory damages.

         97.     Because eBay removed the listings at issue in IQAir's complaints, New Angle

suffered dnmnges including lost profits and economic opportiinities in an nrnOlint within the

jurisdiction of this court

                                                    COUNT IV

         98.     New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

         99.     IQAir made written representations to Amazon about New Angle's product

listings by reporting alleged intellectual property violations and safety complaints to Amazon.

         100.    IQAir knew that the affected listings stated that the New Angle products complied

with Amazon's policy for utilizing trademarks by stating that the items were "compatible with"

IQAir products, but IQAir nonetheless reported them as trademark violations or counterfeit

items.

         101.    IQAir maliciously and wantonly made its representations to Amazon with

howleuAge of their icalsity ui with L.:UllblatJUS illdifferenee   tO   their 'midi.

         102.    IQAir intended to induce Amazon to rely upon those representations and to

remove New Angle product listings as a result of those representations.

         103.    Amazon justifiably relied on defendant's misrepresentations to New Angle's

detriment.

         104.    The above-described conduct oldie delendant was wanton, malicious, or

oppressive and therefore the plaintiff is entitled to enhanced compensatory damages.




                                                        17
            Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 24 of 35




          105.       Because Amazon removed the listings at issue in IQAir's complaints, New Angle

suffered damages, including lost profits and economic opportunities in an amount within the

jurisdiction of this court.

                                                 MT TNT V


          106.       New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

          107.       RSA 358-A:2 prohibits "any unfair method of competition or any unfair or

deceptive act or practice in the conduct of any trade or commerce within this state."

          108.       Although eBay permits sellers to utilize brand names in product listings to

establish their compatibility with brand name equipment, IQAir nonetheless filed repeated

complaints with eBay accusing New Angle of trademark and intellectual property violations.

          109.       By submitting baseless complaints to eBay, IQAir intended to disrupt the

competition presented by New Angle's after-market products and eliminate such products from

the marketplace.

          110.       eBay relied on IQAir's factual misrepresentations and removed multiple New

1-1.1161G 11J1.1116S11VIII "o,..,
                           G.L.Itay..


          111.       IQAir unfairly eliminated the competition posed by New Angle's compatible

products by complaining to eBay about alleged trademark and intellectual property violations,

even though New Angle's product listings complied with eBay's policies for utilizing brand

names in such listings.

          112.       New Angle sustained damages because of IQAir's unfair and deceptive practices

concerning New Angle's eBay product listings, including lost profits and economic opportunities

in an amount within the jurisdiction of this court.




                                                     18
            Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 25 of 35




                                                 COUNT VI

          113.       New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

          114.       RSA ZSR-A•7 prohibits "Any iinfnir melhorl of competition nr n rly linfnir nr

deceptive act or practice in the conduct of any trade or commerce within this state."

          115.       Although Amazon permits sellers to utilize brand names in product listings to

establish their compatibility with brand name equipment, IQAir nonetheless filed repeated false

complaints with Amazon accusing New Angle of intellectual property violations and producing

restricted or unsafe products.

          116.       IQAir sells products on Amazon and is presumed to know about Amazon's

policies for the listing, naming, and marketing of merchandise on that platform, including its

policies about utilizing trademarks in listings for after-market products compatible with brand-

name equipment.

          117.       By submitting baseless complaints to Amazon, IQAir intended to disrupt the

competition presented by New Angle's after-market products and eliminate such products from
,.w„  n           et
LUG Mal   1....GLplak,G.




          118.       Amazon relied on IQAir's factual misrepresentations and removed multiple New

Angle listings from Amazon.

          119.       IQAir unfairly eliminated the competition posed by New Angle's compatible

products by complaining to Amazon about alleged intellectual property violations and safety

concerns, even though New Angle's product listings complied with Amazon's policies for

utilizing brand names in such listings.




                                                      19
          Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 26 of 35




         120.     New Angle sustained damages because of IQAir's unfair and deceptive practices

concerning New Angle's Amazon product listings, including lost profits and economic

opportunities in an amount within the jurisdiction of this court.

                                                    rnrINT VII
         121.     New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

         122.     IQAir failed to exercise reasonable care in publishing, without any valid privilege,

false statements of fact about New Angle to third parties, including false statements

communicated to Amazon and eBay via written complaints.

         123.     IQAir's false statements include allegations of trademark and intellectual property

violations by New Angle.

         124.     IQAir intentionally, maliciously, and wantonly made false statements of fact to

Amazon and eBay when it reported that New Angle products inappropriately utilized IQAir's

intellectual property, when those product listings actually complied with Amazon and eBay

policies for utilizing brand names. The false statements of fact are reflected in the notices New

.e-Aulgie reCellied 110111
                    c      eBay on .tkAprii   'I, 4'020, JOecember 5, 2020, and August, 20, .4'1 021.   rts
                                                                                                        1.1.1e



statements of fact are reflected in the notices New Angle received from Amazon on June 9, 2020

and June 11, 2020.

         125.     IQAir intentionally, maliciously, and wantonly made false statements of fact to

Amazon when it complained that New Angle products are counterfeits or copies of IQAir

products, when IQAir knew that the contested products were after-market products designed to

be compatible with IQAir equipment. The false statements of fact are reflected in the notices

New Angle received from Amazon on June 17, 2021 and July 21, 2021.




                                                          20
           Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 27 of 35




         126.      IQAir made false statements of fact to Amazon when it complained that New

Angle products are illegal, unsafe, or restricted products, when IQAir knew that the contested

products are not unsafe or illegal. The false statements of fact are reflected in the notices New

Angle received from A tnn7on nn Janlinty 5 /0/1 and Inni,nry /8 7071.

         127.      IQAir failed to exercise reasonable care in publishing false and defamatory

statements of fact, without any valid privilege.

         128.      These statements and the impression they create to Amazon and eBay tend to

lower New Angle's reputation and harm its business interests with those online retailers.

         129.      IQAir acted intentionally and maliciously to harm New Angle and create the false

impression that New Angle has unlawfully utilized IQAir's intellectual property in the sale of

New Angle merchandise or otherwise markets unsafe products.

         130.      As a result of this conduct, New Angle suffered harm to its business.

         131.      The above-described conduct of the defendant was wanton, malicious, or

oppressive and therefore the plaintiff is entitled to enhanced compensatory damages.

         132.      New Angle is entitled to an award of general and specific damages for the harm
AT.... Ikngle suffered to its bu J 1MSS alld GIrk.)114.)11111., UppUlt1.411;t:IGS as a   CIL Ga. 1   salt °fir' A 'r'-•

defamatory acts in an amount within the jurisdiction of this court.

                                                     COUNT VIII

         133.      New Angle restates and incorporates herein by reference each and every

preceding paragraph as if fully set forth herein.

         134.      IQAir claims that New Angle's sale of replacement parts compatible with IQAir's

air filtration devices constitutes federal and common law trademark infringement and unfair




                                                            21
                    Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 28 of 35




competition, and, under a threat of litigation, IQAir demanded that New Angle cease selling such

replacement parts in United States commerce.

                  135.         An actual, present, and justiciable controversy exists between New Angle and

TQAir nnnrerning Neu Ariglr'c nee of the Marks in nnnnpotinn with New Arigin'e calf of


replacement parts compatible with IQAir's air filtration devices.

                 136.          New Angle's products are labeled, advertised, marketed, and sold in such a

manner that there is no likelihood of confusion between the respective organizations and their

products.

                 137.          New Angle seeks a declaratory ruling from this court that New Angle's use of the

Marks is not likely to cause confusion as to the source, affiliation, or sponsorship of New

Angle's goods with those of IQAir.

                 138.          New Angle seeks a declaratory ruling from this court that its sale of replacement

parts compatible with IQAir's air filtration devices does not constitute trademark infringement

under the Lanham Act or under New Hampshire state law.

                 139.          New Angle seeks a declaratory ruling from this court that New Angle's sale of
                                                        Tr% A 'so'',            t•   A
•••••••••1 nekelbswob nbso•   nootet
19.niriA,GiiiGHL Pal LS COMpaLLU1G
                                       ntit•i"   ift•
                                                        1‘,Z.M.11 S    air Lin:radon uevices does not constitute unfair

competition under the Lanham Act or under New Hampshire state law.

                 140.          New Angle further seeks a declaratory ruling from this court that IQAir has

suffered no, and will not suffer any, damages or loss of goodwill as a result of New Angle's use

of the Marks to indicate to consumers the compatibility of New Angle's goods with the devices

made by IQAir.




                                                                           22
    Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 29 of 35




WHEREFORE, plaintiff respectfully requests this Honorable Court:

a.      Enter an award of damages to compensate plaintiff for the acts complained of

        above, all within the jurisdictional limits of this court;

b        Award the      pinintiff trebIP rinmnrs as contemplated by RSA ch 158-A;

c.      Award the plaintiff enhanced compensatory damages;

d.      Declare that New Angle's use of the Marks is not likely to cause confusion

        between the two companies and their products;

e.      Declare that New Angle's sale of replacement parts compatible with IQAir

        products does not constitute trademark infringement or unfair competition under

        applicable state or federal law;

f.      Declare that IQAir has not and will not suffer any damages or loss of goodwill as

        a result of New Angle's use of the Marks to indicate to consumers the

        compatibility of its goods to IQAir air filtration devices;

g.      Award plaintiff its reasonable attorneys' fees and costs in accordance with New

        Hampshire law; and

11.
             111,
        l_114111, p141111.111.   tiLl1C1 41111 1.U11.11C1 'CLIC'   45   cHui ly% i8iiiiire5.


NEW ANGLE DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




                                                  23
       Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 30 of 35




                                   Respectfully submitted,

                                   NEW ANGLE LLC,
                                   By Its Attorneys,
                                   CLEVELAND, WATERS AND BASS, P.A.

Date: 3/7/22                       By:      /s/ Cooley A. Arroyo
                                         Cooley A. Arroyo, Esq. (NH Bar #265810)
                                         arroyoc@cwbpa.com
                                         Cleveland, Waters and Bass, P.A.
                                         2 Capital Plaza, P.O. Box 1137
                                         Concord, NH 03302-1137
                                         (603) 224-7761




                                     24
                     Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 31 of 35




From:                                     Nelson, Gary <GNelson@lewisroca.com>
Sent:                                     Friday, March 11, 2022 7:20 PM
To:                                       Cooley Arroyo
Cc:                                       Toomey, Colleen P.
Subject:                                  (406277-00455): New Angle LLC v IQAir
Attachments:                              Complaint - Civil.pdf; Summons on Complaint.pdf


Cooley:

This will confirm receipt and acceptance of service of the Summons and Complaint as of today's date.

 Gary Nelson
 Partner

 gnelson@lewisroca.com

 D. 626.683.4588


 LEWIS                ROCA



From: Cooley Arroyo <arroyoc@cwbpa.com>
Sent: Friday, March 11, 2022 12:48 PM
To: Nelson, Gary <GNelson@lewisroca.com>
Cc: Toomey, Colleen P. <CToomey@lewisroca.com>
Subject: RE: (406277-00455): New Angle LLC v IQAir

[EXTERNAL]


Thank you for this quick response, Gary, and for accepting service on behalf of IQ Air. I've attached the filed complaint,
summons, and an acceptance of service form. Please let me know if you require anything further.

Best,
Cooley

Cooley Ann Arroyo, Esquire
CLEVELAND, WATERS AND BASS, P.A.
Two Capital Plaza, 5th Floor
P.O. Box 1137
Concord, NH 03302-1137
Tel: (603) 224-7761 / (800) 370-7761, ext. 1029
Fax: (603) 224-6457
Email: arroyoc@cwbpa.com

With offices also in New London and Dover, New Hampshire.

STATEMENT OF CONFIDENTIALITY: This email message is intended only for the named recipient(s) above. It may contain confidential information
that is privileged or that constitutes attorney work-product. If you are not the intended recipient, you are hereby notified that any dissemination,


                                                                          1
                       Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 32 of 35
distribution or copying of this email and any attachment(s) is strictly prohibited. If you have received this email in error, please immediately notify the
sender by replying to this email and delete the message and any attachment(s) from your system. Thank you.

Visit the CWB web site at www.cwbpa.com


      Best Ln‘ers

    BEST
    LAWFIRMS
          202.2


From: Nelson, Gary <GNelson@lewisroca.com>
Sent: Friday, March 11, 2022 12:20 PM
To: Cooley Arroyo <arrovoc@cwbpa.com>
Cc: Toomey, Colleen P. <CToomey@lewisroca.com>
Subject: FW: (406277-00455): New Angle LLC v IQAir

Cooley: My client has authorized me to accept service of the Complaint filed by New Angle LLC in New Hampshire
Superior Court. I look forward to receiving a copy of the filed Complaint and all related documents. Thanks.

 Gary Nelson
 Partner

 gnelson@lewisroca.com

 D. 626.683.4588


 LEWIS                  ROCA




From: Nelson, Gary
Sent: Friday, March 11, 2022 8:51 AM
To: Cooley Arroyo <arrovocPcwbpa.com>
Subject: (406277-00455): New Angle LLC v IQAir

Cooley: I will pass your request on to my client and will discuss the matter with them.

 Gary Nelson
 Partner

 gnelson@lewisroca.com

 D. 626.683.4588


 LEWIS                 ROCA
                                                                               2
                      Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 33 of 35




From: Cooley Arroyo <arrovoc@cwbpa.com>
Sent: Friday,March 11, 2022 6:39 AM
To: Nelson, Gary <GNelson@Jlewisroca.com>
             ni - .     n..,.-1...          -
JLIFJjet.1.; RC: INItVV     %le LLL V ILVAII


[EXTERNAL]


Good morning, Gary:

I've received the summons from the court for New Angle's complaint against IQAir. Please let me know by the end of the
day if you can accept service on behalf of your client. If not, we will arrange for service by the sheriff.

Best,
Cooley

Cooley Ann Arroyo, Esquire
CLEVELAND, WATERS AND BASS, P.A.
Two Capital Plaza, 5th Floor
P.O. Box 1137
Concord, NH 03302-1137
Tel: (603) 224-7761 / (800) 370-7761, ext. 1029
Fax: (603) 224-6457
Email: arroyoc@cwbpa.com

With offices also in New London and Dover, New Hampshire.

STATEMENT OF CONFIDENTIALITY: This email message is intended only for the named recipient(s) above. It may contain confidential information
that is privileged or that constitutes attorney work-product. If you are not the intended recipient, you are hereby notified that any dissemination,
distribution or copying of this email and any attachment(s) is strictly prohibited. If you have received this email in error, please immediately notify the
sender by replying to this email and delete the message and any attachment(s) from your system. Thank you.

Visit the CWB web site at www.cwbpa.com


      1,„vrs
    BEST
     LAW FIRMS
         1I
         2022


From: Nelson, Gary <GNelson@lewisroca.com>
Sent: Monday, March 7, 2022 5:09 PM
To: Cooley Arroyo <arroyoc@cwbpa.com>
Subject: RE: New Angle LLC v IQAir

Cooley: I will discuss this matter with my client and get back to you. Thanks.

 Gary Nelson

                                                                              3
                      Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 34 of 35
 Partner

 gnelson@lewisroca.com

 D. 626.683.4588


 LEWIS                 ROCA




From: Cooley Arroyo <arroyoc@cwbpa.com>
Sent: Monday, March 7, 2022 12:49 PM
To: Nelson, Gary <GNelson@lewisroca.com>
Subject: New Angle LLC v IQAir

[EXTERNAL]


Good afternoon, Gary:

We have filed a complaint against IQAir on behalf of our client, New Angle LLC. This complaint was filed today in New
Hampshire's superior court. Will you accept service of the complaint on behalf of IQAir?

I look forward to your reply at your earliest convenience.

Best,
Cooley

Cooley Ann Arroyo, Esquire
CLEVELAND, WATERS AND BASS, P.A.
Two Capital Plaza, 5th Floor
P.O. Box 1137
Concord, NH u6,suz-1137
Tel: (603) 224-7761 / (800) 370-7761, ext. 1029
Fax: (603) 224-6457
Email: arrovoc cwboa.com

With offices also in New London and Dover, New Hampshire.

STATEMENT OF CONFIDENTIALITY: This email message is intended only for the named recipient(s) above. It may contain confidential information
that is privileged or that constitutes attorney work-product. If you are not the intended recipient, you are hereby notified that any dissemination,
distribution or copying of this email and any attachment(s) is strictly prohibited. If you have received this email in error, please immediately notify the
sender by replying to this email and delete the message and any attachment(s) from your system. Thank you.

Visit the CWB web site at www.cwbpa.com


      Best 1..1wer,

    BEST
     LAW FIRMS
          2022

                                                                              4
                        Case 1:22-cv-00113-PB Document 1-1 Filed 04/05/22 Page 35 of 35




This message and any attachments are intended only for the use of the individual or entity to which they are addressed. If the reader of this message or an
attachment is not the intended recipient or the employee or agent responsible for delivering the message or attachment to the intended recipient you are hereby
notified that any dissemination, distribution or copying of this message or any attachment is strictly prohibited. If you have received this communication in error,
please notify us immediately by replying to the sender. The information transmitted in this message and any attachments may be privileged, is intended only for
the personal and confidential use of the intended recipients, and is covered by the Electronic Communications Privacy Act, 18 U.S.C. §2510-2521.




This message and any attachments are intended only for the use of the individual or entity to which they are addressed. If the reader of this message or an
attachment is not the intended recipient or the employee or agent responsible for delivering the message or attachment to the intended recipient you are hereby
notified that any dissemination, distribution or copying of this message or any attachment is strictly prohibited. If you have received this communication in error,
please notify us immediately by replying to the sender. The information transmitted in this message and any attachments may be privileged, is intended only for
the personal and confidential use of the intended recipients, and is covered by the Electronic Communications Privacy Act, 18 U.S.C. §2510-2521.




                                                                                  5
